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Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Pagelof9 Page ID#1
Jorge Alejandro Rojas
rojas.jorge96@gmail.com
21305 Brighton Ave
Torrance, CA 90501
424-219-1582
Plaintiff in Pro Se
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
¢V15-05444-ComM (SS.
JORGE ALEJANDRO ROJAS, Case No.:
Plaintiff,
VS. COMPLAINT FOR INJUNCTIVE
FEDERAL AVIATION RELIEF
ADMINISTRATION,
Defendant
COMPLAINT FOR INJUNCTIVE RELIEF
1. This is an action under the Freedom of Information Act, 5 U.S.C. § 552, to
order the production of agency records maintained by the Federal Aviation
Administration (FAA).
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Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Page 2of9 Page ID#2

2. This lawsuit challenges the agency's failure to disclose documents in response

||to Jorge A. Rojas’ (Plaintiff) FOIA request. Plaintiff seeks information concerning

the race, gender, ethnicity, and color of those who were deemed as having “passed”
the Biographical Questionnaire/Biographical Assessment (“BQ/BA”) for federal
employment vacancy announcement FAA-ATO-15-ALLSRCE-4016 posted in

March 2015.

JURISDICTION AND VENUE
4 This court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)
(B). Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B).
y
Be Plaintiff, Jorge A. Rojas, is the requester of the records which defendant is
now withholding. Plaintiff has requested this information for use in a fact finding
for EEO complaint and prompt release of the information is requested to assure my
due process rights for information and to comply with timelines for such EEO
complaint. Plaintiff also wishes to promote transparency, integrity, and

accountability within the agency.

Page 2

 
 

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Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Page 3of9 Page ID#3

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pf Defendant Federal Aviation Administration is an agency of the United States
and has possession, custody, and control of the documents that plaintiff seeks. The

agency is headquartered at 800 Independence Ave, SW Washington, DC 20591.

FACTS

 

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i By electronic submission (See Exhibit 1) dated June 3, 2015, plaintiff

requested records:

1. A listing of those who were found eligible (passed the biographical
assessment for the March 2015 Air Traffic Control Specialist - Trainee
announcement.) These statistics include race, gender, and ethnicity. No
personal identifying information is requested.

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é The agency confirmed receipt of the FOIA and assigned it tracking number
2015-007021 with a letter dated June 22, 2015 and identified Beth Mathison as the
point of contact for this request. A copy of this letter is attached as Exhibit 2.

yA The Plaintiff has not received responsive documents or a request for extension

by the agency. Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), Defendant was required to

Page 3

 

 
 

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Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Page 4of9 Page ID#:4

determine whether to comply with the request within twenty (20) working days
and to notify Plaintiff immediately of its determination, the reasons therefor, and
the right to appeal any adverse determination. Defendant’s determination was due

by July 16, 2015 at the latest. To date no determination has been received.

f. Plaintiff called the FOIA officer identified above on July 17, 2015 to request a
status on the request. The officer stated that the request had been sent by the Office
of Civil Rights to the Office of General Counsel for concurrence. Beth stated that
this was done on July 14, 2015. She was not sure of the status of the concurrence
with the Office of General Counsel. She was unable to provide a status date, and
said “I absolutely don't know” instead. I advised her that I would not be granting
an extension but that the agency can continue processing the request. Beth also
stated that after General Counsel informs Civil Rights about its position, Civil
Rights would tell Human Resources. It will then take about two weeks to receive
responsive documents. The agency is attempting to find a way to not release the

requested information that the public has a want to know.

10. This is a simple request to process and requests a listing of the ethnicity,

gender, race, and color of applicants for federal employment who were selected as

Page 4

 

 

 
   

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Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Page5of9 Page ID#5

having passed a biographical examination/assessment for employment. The public
has an interest in knowing this information because the agency is under scrutiny
for changes in its hiring practices for controllers and there appears to be
discrimination involved. Personal identifying information is NOT requested.
Anything that ties the identity of an individual with the demographics of the
individual is not requested. The agency has the information requested, as it was

asked during the application process.

11. Core v. USPS decided that exemption 6 does not shield information
regarding successful applicants. Although the applicants haven't been fully selected
as a result of passing the assessment, the assessment was used as a gate keeper for

further selection and testing. Besides a security clearance and medical

|| examination, the individuals who passed the assessment made the cut to become

air traffic controllers.

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Kh . Plaintiff has a right of access to the requested information under and there is

no legal basis for defendant’s constructive denial of such access.

Page 5

 

 
 

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Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Page 6o0f9 Page ID#6

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~ Because Defendant has failed to comply with the time limit set forth in 5

U.S.C. § 552(a)(6)(A), Plaintiff is deemed to have exhausted any and all

administrative remedies pursuant to 5 U.S.C. § 552(a)(6)(C).
WHEREFORE, plaintiff requests this Court:

(1) order Defendant to conduct a search for any and all responsive records to
Plaintiff’s FOIA request and demonstrate that it employed search methods
reasonably likely to lead to the discovery of records responsive to Plaintiff's FOIA

request;

(2) order Defendant to produce, any and all claimed nonexempt records to
Plaintiff’s FOIA request and a Vaughn index of any responsive records withheld

under claim of exemption;

(3) grant Plaintiff an award of attorneys’ fees and other litigation costs

reasonably incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E);

(4) Expedite this proceeding as provided for in 28 U.S.C. § 1657;

 

 

Page 6

 
Case 2:15-cv-05444-CBM-SS Document1 Filed 07/17/15 Page 7of9 Page ID#:7

 

(5) Grant such other and further relief as may deem just and proper.

Respectfully submitted,
Jorge Alejandro Rojas
21305 Brighton Ave

Torrance, CA 90501

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DATED: July 17, 2015

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In Pro Se! } ,

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Page 7

 

 

 

 
  

On
Administration

1 Filed 07/17/15 Page 8of9 Page ID#:8
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Form
eq west has been submitted

 

 
  
 

 

 

 

 

Your FOIA request has been submitted. Save or print this page for your records.

 

 

vyvge A Rojas

 

 

   
   
 
 

viation Administration

vionroney Aeronautical Center FOIA Coordinator, AMC-3
BOx 25082

oma City, OK 73125

‘sting an iternized, indexed inventory of evéry agency record or portion thereof responsive to this request i
ul assert to be exempt from disclosure, accompanied by a ‘detailed Justification Statement covering each rei fs

 

wis or

Exhibit 1.
mam dollar amount lam wi ing to Pay for this request is $50.00. Please notify me if the fees pl sxgeed

 
 

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U8: Department.

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Bee! Administration

FOIA Program Management Branch
800 Independence Avenue SW
Washington, DC 20591

June 22, 2015

Mr. Jorge Rojas
' 21305 Brighton Ave
Torrance, CA 90501

o Re: Freedom of information Act (FOIA) Request 2015-007021

 

Dear Mr. Rojas:

This letter acknowledges receipt of your FOIA request dated June 3, 2015, concerning A listing of those who
_were found eligible (passed the biographical assessment for the March 2015 Air Traffic Control Specialist -

Trainee announcement. These statistics include race, gender, and ethnicity..

Your request has been assigned for action to the office(s) listed below:

Federal Aviation Administration Contact: Beth Mathison
Office of Human Resources FOIA Coordinator
1601 Lind Ave., SW (425) 227-2070

Renton, WA 98057

Should you wish to inquire as to the status of your request, please contact the assigned FOIA coordinator(s).
Please refer to the above referenced number on all future correspondence regarding this request.

Sincerely,

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<8 Date: 201508.2a teagaas -oatg

Alan Billings

Exhibit 2

Page 9
